439 F.2d 1116
    UNITED STATES of America, Plaintiff-Appellee,v.Robert Edgar FINNEY, Defendant-Appellant.
    No. 26594.
    United States Court of Appeals, Ninth Circuit.
    March 24, 1971.
    
      Martin Jerry Bleckman, Los Angeles, Cal., for plaintiff-appellee.
      Robert L. Meyer, U.S. Atty., David R. Nissen, Chief, Crim.Div., Richard L. Jaegar, Asst. U.S. Atty., Los Angeles, Cal., for defendant-appellant.
      Before MERRILL, HUFSTEDLER and KILKENNY, Circuit Judges.
      PER CURIAM:
    
    
      1
      On appeal from a judgment of conviction for refusing induction into the Armed Services, appellant contends that his local board erred in failing to conside his claim for I-A-O status.  The claim was presented to his local board after he had refused induction and after he was indicted for his refusal.
    
    
      2
      It is now well established that a local board is not required to take action concerning a request for a change in classification which is filed after the registrant has refused induction.  United States v. Lowell, 437 F.2d 906 (9th Cir. 1971), and cases cited.  This being true, the local board properly refused to reopen appellant's classification.
    
    
      3
      Judgment affirmed.
    
    